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                                UNITED STATES DISTRICT COURT
                               CENTRAL DISTRICT OF CALIFORNIA

                                        CIVIL MINUTES - GENERAL
    Case No.     CV03-06511 GHK(RZx)                                         Date    October 20, 2021
    Title        Darren Del Nero v. Riddle & Associates, et al.




    Present: The Honorable      Philip S. Gutierrez, Chief United States District Judge

                         D. Rojas                                            Not Reported
                       Deputy Clerk                                         Court Reporter
             Attorneys Present for Plaintiff(s):                  Attorneys Present for Defendant(s):
                        Not Present                                           Not Present
    Proceedings (In Chambers):         Order Granting In Part and Denying In Part Plaintiff’s
                                       Application to File Under Seal

       Before the Court is Plaintiff Darren Chaker Del Nero’s Application to File Under Seal
(the “Application”), which was received on August 13, 2021. Dkt. # 15 (“App.”). The Court
finds the matter appropriate for decision without oral argument. See Fed. R. Civ. P. 78(b); L.R.
7-15. Having considered the moving papers, the Court GRANTS IN PART and DENIES IN
PART the Application.

I.          Background

      In 2003, Plaintiff commenced this case against Defendants Riddle & Associates, PC,
NCO Portfolio Management, Inc., and NCO Financial Systems, Inc. See Complaint, Dkt. # 1. A
few months later, the case was dismissed with prejudice because the parties reached a settlement
agreement. See Order of Dismissal Upon Settlement, Dkt. # 14. Plaintiff’s submission of the
Application at issue is the first action in the case since the case was dismissed in 2003.

II.         Legal Standard

        The party seeking to seal judicial records must demonstrate “compelling reasons” for
doing so. See Pintos v. Pac. Creditors Ass’n, 605 F.3d 665, 677–78 (9th Cir. 2010); Kamakana
v. City & Cty. of Honolulu, 447 F.3d 1172, 1178 (9th Cir. 2006) (holding that “[a] party seeking
to seal a judicial record . . . bears the burden of . . . meeting the ‘compelling reasons’ standard”).1

1
 A different standard covers the “narrow range of documents” such as “grand jury transcripts”
and certain “warrant materials” that “traditionally [have] been kept secret for important policy
reasons.” Kamakana, 447 F.3d at 1178. This standard is not relevant here. In addition, a
different standard is applicable to protect “private materials unearthed during discovery,”

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This standard derives from the common law right “to inspect and copy public records and
documents, including judicial records and documents.” Kamakana, 447 F.3d at 1178 (quoting
Nixon v. Warner Commc’ns, Inc., 435 U.S. 589, 597 & n.7 (1978)).

        To overcome the presumption created by this common law right of access, a party seeking
to seal judicial records must show “‘compelling reasons supported by specific factual findings’
that outweigh the general history of access and the public policies favoring disclosure.” Id. at
1178–79 (internal citation omitted) (quoting Foltz v. State Farm Mut. Auto. Ins. Co., 331 F.3d
1122, 1135 (9th Cir. 2003)). In general, “compelling reasons” may be shown where “‘court files
might have become a vehicle for improper purposes,’ such as the use of records to gratify private
spite, promote public scandal, circulate libelous statements, or release trade secrets.” Id. at 1179
(quoting Nixon, 435 U.S. at 598). However, the “mere fact that the production of records may
lead to a litigant’s embarrassment, incrimination, or exposure to further litigation will not,
without more, compel the court to seal its records.” Id.

III.     Discussion

        Plaintiff, who is appearing pro se, moves the Court to file the Application itself and the
attached Ex Parte Motion to Seal Records (the “Motion”) under seal in their entirety. See
generally App. Plaintiff has carried his burden in showing that there is a compelling reason to
seal his home and email addresses, as well as confidential documents and sealed court records.
Yet, Plaintiff has not demonstrated a compelling reason to seal the other information contained
in the Application and Motion, and, thus, filing the entire Application and Motion under seal is
not warranted.

        First, Plaintiff’s assertion that filing the entire Application and Motion under seal is
required because, in his Motion, he references and attaches what he asserts are confidential
documents and sealed court records is not persuasive. Plaintiff’s references to these documents
and court records in his Motion are not so intertwined with his argument that filing a redacted
version would not be feasible. Instead of filing the entire Motion under seal, a more reasonable
approach that comports with the general history of access and the public policies favoring
disclosure would be to file a redacted version that is available for public inspection, in addition
to the unredacted version under seal. See Del Nero v. NCO Fin. Sys., Inc., No. 2:06-CV-04823-
JDW, 2021 WL 2375892, at *2 (E.D. Pa. June 10, 2021) (noting that “where possible, parties

permitting a protective order “to protect a party or person from annoyance, embarrassment,
oppression, or undue burden or expense.” Pintos, 605 F.3d at 678 (quoting Fed. R. Civ. P.
26(c)(1)). This standard is also not relevant here.

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should propose redactions, rather than placing a whole document under seal”), reconsideration
denied, 2021 WL 3615904 (E.D. Pa. Aug. 12, 2021).

        Second, Plaintiff has demonstrated that sealing his home and email addresses is necessary
as revealing that information may put Plaintiff at risk of injury or harassment. Yet, Plaintiff has
failed to demonstrate that shielding his name or participation in a specific state program from
public view is necessary to protect him from injury or further harassment. Thus, Plaintiff has
presented a compelling reason to seal his home and email addresses, but not the other
information contained in his Application and Motion that he seeks to seal.

IV.      Conclusion

        Accordingly, Plaintiff’s Application is GRANTED IN PART and DENIED IN PART.
The Court GRANTS Plaintiff’s Application as to Plaintiff’s home and email addresses, as well
as the alleged confidential documents and sealed court records and references to those
documents and records. The Court DENIES Plaintiff’s Application to the extent he seeks to file
other portions of the Application and Motion under seal.

       In accordance with the instructions in this Order, Plaintiff must submit redacted versions
of the Application and Motion to be filed on the public docket. See L.R. 79-5.2.2(a). Instead of
three days as provided in the Local Rules, see id., Plaintiff shall submit redacted versions of the
Application and Motion within 30 days from the date of this Order. Plaintiff’s unredacted
Application and Motion will remain on the docket under seal unless the Court orders otherwise.
The Court will not consider the Motion unless Plaintiff timely files a redacted version that
comports with this Order. See id.




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